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                  EXHIBIT 2
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Subject: Notice of Overtime Pay Lawsuit Against Apple Inc.

The Court authorized this Notice. This is not a solicitation from a lawyer.

TO:    California Class Members:

       All current and former California employees who Apple, Inc. classified as non-
       exempt/overtime eligible who received restricted stock units that vested on or after
       June 14, 2019, and recorded more than forty hours of work in a workweek or more
       than eight hours of work in a workday after receiving an RSU but before the RSU
       vested. This excludes those who signed an arbitration agreement and excludes those
       who signed a separation, severance, or settlement agreement that released their
       claims during the entire relevant time period.

       New York Class Members:

       All current and former New York employees who Apple, Inc. classified as non-
       exempt/overtime eligible who received restricted stock units that vested on or after
       August 11, 2017, and recorded more than forty hours of work in a workweek after
       receiving an RSU but before the RSU vested. This excludes those who signed an
       arbitration agreement and excludes those who signed a separation, severance, or
       settlement agreement that released their claims during the entire relevant time
       period.

DEADLINE: If you choose to be excluded, you must postmark or submit your exclusion notice
by <<90 days from notice>> to be excluded.

WHAT IS THIS NOTICE ABOUT?

This notice is to inform you of a class action against Apple Inc. The lawsuit alleges that Apple did
not pay accurate overtime wages by not including the value of vested restricted stock units in
employees’ overtime pay rate. Apple’s records show that you currently work, or previously
worked, for Apple, and are a member of the Class(es).

The Court has allowed this lawsuit to be a class action. The Court has not decided whether Apple
has done anything wrong. There is no money available now, and no guarantee there will be.
However, your legal rights are affected, and you have a choice to make now.

WHAT ARE MY LEGAL RIGHTS AND OPTIONS IN THIS LAWSUIT?

Do Nothing: Stay in this lawsuit. Await the outcome. Give up certain rights. By doing nothing,
you keep the possibility of getting money or benefits that may come from a trial or settlement. But
you give up any rights to sue Apple separately about the same legal claims in this lawsuit.

Ask to be Excluded. Get out of the Class(es). Get no benefits from the Class claims. Keep rights.
If you ask to be excluded and money or benefits are later awarded to the Class(es), you won’t share

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in those. But you keep any rights under applicable law to sue Apple separately about the same
legal claims in this lawsuit.

•      Your options are explained in more detail the notice mailed to you, which you can find at
       www.AppleOvertimeLawsuit.com.
•      To ask to be excluded, you must send an “Exclusion Request” in the form of a letter sent
       by mail or a message by email stating that you want to be excluded from the Apple
       overtime lawsuit. Be sure to include your name, address, and the Claimant ID located at
       the beginning of this notice. You must mail (postmark) or email your Exclusion Request
       by <<90 days from notice>>, to Apple Overtime Lawsuit, P.O. Box 64053, St. Paul, MN
       55164 or AppleOvertimeLawsuit@atticusadmin.com.
•      Lawyers must prove the claims at a trial set to start May 26, 2026. If money or benefits
       are obtained from Apple, you will be notified.
•      Any questions? Visit www.AppleOvertimeLawsuit.com.




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